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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on September 30, 2020, he caused the foregoing to

be electronically filed with the Clerk of the Court using the ECF system that will send

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